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                                                                                           filed
                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                                                                   Mill NOy 2b P |: 5s
BMG RIGHTS MANAGEMENT
(US) LLC, and ROUND HILL
                                                                                 CLERK US DISTRICT COURT
                                                                                                ViSGJNIA
MUSIC LP


                Plaintiffs,

        V.                                            Case No.


COX ENTERPRISES, INC.
COX COMMUNICATIONS, INC. and
                                                                          -Tfo
COXCOM, INC. d/b/a COX
COMMUNICATIONS OF NORTHERN
VIRGINIA


               Defendants.



                     COMPLAINT FOR COPYRIGHT INFRINGEMENT


        Plaintiffs BMG Rights Management (US) LLC and Round Hill Music LP (collectively

"Plaintiffs"), by and through their counsel, hereby allege as follows:

                                          Nature of Case


        1.     Massive online pirating of copyrighted music, movies and other digital works has

evolved over the years spurred on by technological advancements. The distribution of perfect

copies of digital content has moved from an Internet user downloading an entire file from a host

server, to Napster-like peer-to-peer [P2P] services where an Internet user can obtain a file from

another Internet user, and now to BitTorrent systems that distribute the copies in pieces using

many users' computers working together. Today, BitTorrent systems are like the old P2P

systems on steroids. BitTorrent systems allow users to join a "swarm" of collaborating host

computers to download and upload copyrighted works from each other simultaneously. When a

file is requested, BitTorrent software identifies multiple host computers with the identical file
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and will take small pieces of the requested file from each of those host computers and download

them simultaneously onto the requester's computer where they will be reassembled into one file.

Thus, BitTorrent allows large files to be transferred, like entire catalogs of recordings, quickly

and efficiently, all for free and without authorization. Moreover, the BitTorrent systems are

designed so that the more files a user shares, the faster the user's downloads are. In other words,

BitTorrent systems reward the users who make the most copyrighted works available for

download. This results in a much more efficient system for copying - speeding up the process

and shrinking the bandwidth for uploading and downloading. In its September 24, 2013 report,

NetNames estimated that 99.97% of non-pornographic files distributed by BitTorrent systems

infringe copyrights. Accordingly, the current scope of copyright infringement on the Internet is,

as the Supreme Court has recognized, "staggering." See Metro-Goldwyn-Mayer Studios Inc. v.

Grokster, Ltd., 545 U.S. 913, 923 (2005).

        2.     Plaintiffs own or have the exclusive rights to administer or publish the copyrights

in numerous popular musical works, recordings, and compositions. In an effort to combat the

massive pirating of their copyrighted works. Plaintiffs' agent, Rightscorp, Inc., has developed a

technological system that identifiesactual infnngements and the perpetrators of these

infringements (by IP address, port number, time, and date) by monitoring BitTorrent systems and

extracting information about the infringing activity, including, inter alia, the IP address, internet

service provider, the infringingcontent being uploaded or downloaded, and the suspected

location of the host computer accessing BitTorrent networks. The systemalso has the capability

to acquire entire files from the infringing host computers. Since 2012, Plaintiffs, throughtheir

agent, using this system, have notified Internet service providers ("ISPs") of specific instances of
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first-time and repeat copyright infringement committed by their account holders and have

requested that the ISPs notify their account holders of their infringements.

        3.     ISPs are required under the Digital Millennium Copyright Act ("DMCA") to

implement and maintain a policy that provides for the termination of subscribers and account

holders that are repeat copyright infnngers in order to maintain the safe harbor protection

afforded by the DMCA from copyright infringement claims that the ISPs otherwise would enjoy.

This requirement is designed to effectuate one of the purposes of the DMCA that "those who

repeatedly or flagrantly abuse their access to the Internet through disrespect for the intellectual

property rights of others should know that there is a realistic threat of losing that access." H.R.

Rep. No. 105-551, pt. 2, at 61.

       4.      Defendants Cox Enterprises, Inc., Cox Communications, Inc. and CoxCom, Inc.,

d^/a Cox Communications ofNorthern Virginia (collectively, "Cox" or "Defendants") have

been notified by Plaintiffs, through their agent oftens of thousands of repeated and blatant

infringements of Plaintiffs' copyrighted works by Cox account holders. Despite these notices

and its actual knowledge of repeat infringements, Cox has continuedto permit its repeat infringer

subscribers to use the Cox network to continue to infnnge Plaintiffs' copyrights without

consequence. And, despite its published policy to the contrary. Cox's actual policy is to refuse

to suspend, terminate, or otherwise penalize subscriber accounts that repeatedly commit

copyright infringement through its network in any meaningful numbers. Cox subscribers do not

face any realistic threat of account termination even where Cox has specific and actual

knowledge of its subscribers' blatant repeated infringement.

       5.      Cox's policy of refusing to terminate repeat infringers protects a large revenue

stream that Cox receives every month from the many repeat infringers who are its subscribers
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and account holders. Cox's policy to protect its repeat infringer subscribers and account holders

at the expense of copyright owners precludes Cox from relying on the safe harbor protections of

the DMCA. Accordingly, Cox's knowledge of specific repeated infringements by identified

subscribers occurring through its network and, despite such knowledge, its material contribution,

participation, and enablement and profiting from such infringement makes Cox liable for

contributory and vicarious copyright infringement.

                                     Jurisdiction and Venue


        6.     This is a civil action seeking damages and injunctive relief for copyright

infringement under the copyright laws of the United States, 17 U.S.C. § 101 e/ seq,

        7.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 (federal

questionjurisdiction) and 28 U.S.C. § 1338(a) (jurisdictionover copyright actions).

        8.     This Court has personal jurisdiction over Cox because Cox resides in and/or does

systematic and continuous business in Virginia and in this judicial district. Cox provides a fiill

slate of services in Virginia, including TV, Internet, and phone service, among others. Cox also

has a number of stores and service centers within this judicial district including stores located at

5958 Kingstowne Towne Ctr., Ste. 100, Alexandria, VA 22315 and 11044 Lee Hwy., Suite 10,

Fairfax, VA 22030.

       9.      Each of the Cox defendants in the past has been a party, as a plaintiff or a

defendant, in this Court.

       10.     In addition, many of the acts complained of herein occurred in Virginia and in this

judicial district. For example, a number of the most egregious repeat infringers on Cox's

network reside in Virginia and this judicial district. Plaintiffs have identified hundreds of Cox

subscribers' accounts suspected of residing in Virginia who have repeatedly infringed one or
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more of the Plaintiffs' copyrighted works. By way of example, Cox subscriber account having

had IP address 70.168.128.98 at the time of the infringement, beheved to be located in Fairfax,

Virginia, was used to infringe twenty-four particular copyrighted works 1586 times since

December 9, 2013. A different Cox subscriber's account also believed to be located in Fairfax,

having had IP address 72.192,248.207 at the time of infringement, has been used to infringe a

different copyrighted work 284 times since December 4,2013. Yet another Cox subscriber's

account believed to be from Alexandria, VA, having had IP address 98.163.68.25 at the time of

the infringement, was used to infringe a different copyrighted work 181 times since October 19,

2013.


        11.    Venue in this District is proper under 28 U.S.C. § 1391(b)-(c), and/or 28 U.S.C. §

1400(a). A substantial part of the acts of infringement complained of herein occurs or has

occurred in this District, and/or this is a judicial district in which Cox resides or may be found.

                                            The Parties


        12.    Plaintiff BMG Rights Management (US) LLC is a Delaware company, with its

principal place of business at 1745 Broadway, New York, NY 10019.

        13.    Plaintiff Round Hill Music LP is a Delaware limited partnership, with its principal

place of business at 400 Madison Avenue, Floor 18, New York, NY 10017.

        14.    Plaintiffs are engaged in the business of acquiring, owning, publishing,

administering, licensing, and/or otherwise exploiting copyrights in musical compositions.

Plaintiffs invest substantial sums of money, as well as time, effort, and creative talent, to acquire,

administer, publish, license and otherwise exploit such copyrights, on their own behalf and/or on

behalf of songwriters and musicians. Plaintiffs are the copyright owners or owners of exclusive

rights under United States copyright law with respect to certain copyrights (the "Copyrighted
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Musical Compositions"), including, but not limited to the representative sample of such musical

compositions listed in Exhibit A, each of which is the subject of a valid Certificate of Copyright

Registration from the Register of Copyrights.

        15.     Upon information and belief, Cox Enterprises, Inc. ("CEF') is a Delaware

corporation with its principal place of business at 6205 Peachtree Dunwoody Road, Atlanta, GA

30328. CEI, operates as a broadband communications services company that provides high

speed Internet access, commercial telecommunications services, and cable television distribution

to residential and commercial clients.


        16.     Upon information and belief. Defendant Cox Communications, Inc. ("CCI") is a

Delaware corporation with its principal place of business at 1400 Lake Heam Drive NE, Atlanta,

Georgia. CCI also has a place of business located at 3080 Centerville Road, Hemdon, VA

20171. CCI is a wholly owned subsidiary of CEI. CCI operates as a broadband communications

and entertainment company for residential and commercial customers in the United States.

Specifically, CCI offers digital video, high-speed Internet, telephone, voice, phone and long

distance, data and video transport, high definition video, digital cable television, and DVR

services over its IP network.

        17.     Upon information and belief, CoxCom, Inc. d/b/a Cox Communications of

Northern Virginia ("CNoVA") is a Delaware corporation with its principal place of business

located at 3080 Centerville Road, Hemdon, VA 20171. CNoVA is a subsidiary of CCI. On

information and belief. CNoVA and CCI work together to provide Cox services, including

Internet services, to subscribers in Virginia and this judicial district.
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                                       Factual Background


                           Cox's Knowledge of the Extensive and
                    Continuing Copyright Infringement by Its Subscribers

        18.     Among the services provided by Cox to its customers is its high speed Internet

service. According to Cox, its customers have "the fastest in-home Wi-Fi." See

http://www.cox.com/residential/intemet.cox. As Cox notes on its website, it has "doubled" its

internet speeds and offers "Fast speeds, lower price! More speed for the money." Id. In

exchange for this service. Cox charges its customers monthly fees ranging in prices from

approximately $49.99 for 50 Mbps download speeds and 5 Mbps upload speeds, to

approximately $79.99 for 150 Mbps download speeds and 20 Mbps upload speeds. See

https://store.cox.com/residential-store/shop.cox?hsi=w.

        19.    Upon purchasing high speed internet access from Cox, its subscribers and account

holders can then access BitTorrent systems and upload and download copyrighted works from

those sites with ease and increasing speed - depending upon the level of Cox service that the

subscribers select. In other words. Cox provides its subscribers and account holders with a fully

functioning system that allows them to engage in copyright infringement using BitTorrent

systems on a massive scale. And for those account holders and subscribers who want to pirate

larger files at faster speeds. Cox obliges them for higher rates. The greater the bandwidth its

subscribers require for pirating content, the more money Cox makes. Cox has over four million

Internet subscribers.


       20.     Having created and for a monthly fee provided its subscribers with the site and

facilities to engage in copyright infringement, Cox is required to implement a policy that

terminates "subscribers and account holders" who are repeat infringers if it desires safe harbor
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protection under the DMCA. Cox has chosen, however, not to do this and has not maintained a

reasonable policy for terminating the accounts of its subscribers that are repeat infringers.

        21.     Since at least 2012, Plaintiffs, through their agent, have provided Cox with

sufficient notice under the DMCA of specific infringers using the Cox system to infringe specific

copyrights. Plaintiffs have also requested that Cox terminate the "subscribers and account

holders" who are repeat infringers of their copyrighted works. Despite its knowledge of specific

repeat infringers of specific copyrighted works. Cox has refused to do so.

        22.    Plaintiffs' notifications to Cox are based upon a software system developed and

employed by their agent. This system identifies specific actual infringements of Plaintiffs'

copyrighted works and the users of BitTorrent networks who infringe Plaintiffs' copyrighted

works. At its most basic level, the software acts as a crawler in search of specific copyrighted

content, and when it communicates with a host computer using BitTorrent that has

acknowledged it has specific copyrighted content available for unauthorized distribution, the

software will log certain identifying information {i.e. the IP address and port number of the host

computer, the date and time the host computer was offering the content, the name of the host

computer's ISP, and information about the infiinging file). Upon collecting this information.

Plaintiffs send a notice of infi-ingement to the applicable ISP, including Cox, detailing the exact

nature of the infringement(s). Plaintiffs request that the notice be sent to the Cox subscriber

since only the ISP can identify and contact directly the proper account holder. Thereafter,

Plaintiffs, through their agent, continue to monitor Cox's network to determine if the same

subscriber or account holder continues to infringe copyrighted works (in other words, whether

the subscriber or account holder is a repeat infringer). If repeat infringement is detected.

Plaintiffs, through their agent, further notify Cox of the infringement.



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         23.     In addition to the daily and summary notifications identified above that are sent

by Plaintiffs' agent to Cox, Plaintiffs provide a fi-ee online "dashboard" to Cox that documents

the infringers and each instance of infringement of Plaintiffs' copyrighted works using the Cox

network. Cox has been provided information on how to access the "dashboard" as part of

Plaintiffs' robust repeat infringer notification procedure, and specifically in a telephonic meeting

that took place in April 2011 between Cox representatives and Plaintiffs' agent. This online

dashboard provides a continuously updated log of repeat infringer information and a backup of

all copyright infringement notices sent on behalf of Plaintiffs to Cox since 2012, as well as

representative samples of infringing files downloaded by specific Cox subscribers.

         24.     Specifically, the infringement dashboard provides Cox with detailed notice of

each infringement, including the track name; the file name; the date the file was made available;

the IP address of the Cox subscriber's account; the port number; and, for a sampling of certain

infringements, a linkto "play" the infringed work. The infringement dashboard also provides

Cox with additional copies of the infringement notices previously sent to Cox via its DMCA

agent.

         25.     The infringement dashboard also provides to Cox further detailed information on

the repeat infringers on the Cox network. The information provided in this portion of the

infringement dashboard includes the IP address; port; number of infringements; date of first and

last infringement recorded; and number of days during which infringements occurred. Cox can

also access the detailed information on each repeat infringerthrough this infringement

dashboard, including the identification of each and everycopyrighted work uploaded, the date

thereof, and copies of all previous noticessent to Cox in connection with those repeat

infringements.
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        26.    The infringement dashboard is updated on a daily basis and is and has been

continuously available to Cox as another means for Cox to analyze and address the egregious

repeat copyright infringement in its network.

        27.    Through Plaintiffs' efforts, Cox has been informed and has knowledge of over

seven million repeat infringements and that over 200,000 subscriber accounts have been engaged

in repeated acts of copyright infringement—^some of which have involved tens of thousands of

repeat infringements over a significant period of time. By way of example only, Cox has

received 54,489 individual notifications for each act of copyright infringement committed by its

subscriber having IP address 98.185.52.220. Those 54,489infringements occurred over a 64 day

period. Cox subscriber having IP address 24.252.149.211 engaged in 39,432 acts of copyright

infringement over 189 days. Cox subscriber having IP address 98.176.207.69 engaged in 20,182

acts of copyright infringement over 407 days. And, Cox has been notified of each of these acts

of infringement.

       28.     Theseegregious repeat in&ingers on the Cox networkare merely a sample of the

over 200,000 repeat copyright infringers whom Cox has - and has had actual knowledge of-

using its system. These, and other of Cox's repeat infringers, continue to use the Cox network to

infringe Plaintiffs' copyrights without consequence.

       29.     Cox has had actual and ongoing specific knowledge of the repeat infringements

by its subscribers and account holders of the Copyrighted Musical Compositions occurring

through the use of its networkfor years. Nonetheless, Cox has repeatedly refused to terminate

the accounts of repeat infringers. The reason that Cox does not terminate these subscribers and

account holders is obvious - it would cause Cox to lose revenue.




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        30.    Plaintiffs, through their agent, have attempted to work closely with Cox to find a

workable and common sense solution to Cox's system-wide repeat infringer problem. Cox,

however, has refused to engage with Plaintiffs' agent in any substantive way and instead has

taken the position that repeat infringement notices provided to Cox "do not relate to matters

subject to the DMCA." Incredibly, Cox's Privacy Counsel advised Plaintiffs' agent that it has

implemented a "policy not to accept or to forward notices such as those sent to us by your firm."

Moreover, Cox chose "to limit the number of notices that [it] can accept from many senders

because of the total volume that [it] receive[s]."

        31.    By its actions. Cox has intentionally ignored and continues to ignore the

overwhelming evidence that provides it with actual knowledge of repeat copyright infringers on

its network and Cox actually has taken measures to avoid and stop receiving those notifications

in direct violation of the spirit and legal requirements of the DMCA. Cox cannot have any

credible, effective repeat infringerpolicy, let alone one that is reasonably implemented as

required by 512(i), if it purposefully ignores notifications, sufficientunder the DMCA, of repeat

infnngers sent by copyright owners who are tracking the repeat infnngers on the Cox network

and providing Cox with actual knowledge of those repeat infringers on a daily basis.

       32.     By ignoring the repeat infnngement notifications and refusing to terminate

internet access for repeat infringers, Cox has made an affirmative decision to contribute to

known copyright infnngement and to continue reaping the substantial financial benefits in the

form of subscription fees and fees for higher bandwidth. Cox's conductrenders it ineligible for

safe harbor immunity from copyright liability under the DMCA.

       33.     Cox provides the site and facilities necessary for its subscribers to commit direct

infringement by delivering uninhibited access to the Internet, as well as the pipes, system, and


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the technology that allow for the storage and transmission of data constituting the infringing files

of the Copyrighted Musical Compositions. In addition to providing the site and facilities for the

infringement. Cox materially contributes to its subscribers' direct infringement by providing

continued access to account holders it knows to be repeat infringers.

          34.   Cox directly profits from repeat infringers. Cox collects significant fees from its

subscribers and subscribers that frequently upload media content often pay higher monthly

premiums for higher bandwidth. Plaintiffs' agent has identified - and notified Cox of- over

200,000 repeat infringers on the Cox network. On information and belief, the number of actual

repeat infringers on the Cox network not known to Plaintiffs or their agent is substantially

higher.

          35.   Despite Plaintiffs' continuous and frequent notifications to Cox of specific

instances of infringement and repeat infnngement committed by Cox's account holders and

subscribers and Cox's knowledge thereof. Cox has refused to terminate any or any meaningful

number of its account holders by reason of their repeat infringements and continues to collect

substantial internet service subscription fees from accounts of known repeat infnngers.

Therefore, Cox has financially benefited and continues to financially benefit from the direct

infnngement of its subscribers.

                                        Claims for Relief


                      Count I - Contributory Infringement of Copyright

          36.   Plaintiffs incorporate herein by reference each and every averment contained in

paragraphs 1 through 35, inclusive.

          37.   The Copyrighted Musical Compositions are directly infringed each time a Cox

subscriber without authorization uploads or downloads through the Cox system a recording that



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embodies that composition. By providing the site and facilities necessary for its subscribers to

commit direct copyright infringement, by providing access to the Internet and the pipes, system,

and technology that allows for the storage and transmission of data, and by failing to terminate

knovm repeat infringers. Cox has and continues to materially contribute to the unauthorized

reproductions and distributions by its subscribers of the Copyrighted Musical Compositions.

        38.     Through Plaintiffs' agent. Cox has repeatedly, over years, been provided with

actual knowledge of the direct infringements occurring through its system.

        39.     In the case of repeat infringers. Plaintiffs, through their agent, have forwarded

additional notices to Cox, requesting that it terminate the subscribers' or account holders'

accounts. Further, Plaintiffs, through their agent, have provided Cox with free access to the

online infringement dashboard that provides Cox with a log of the repeat infringers, the

copyright infringement notices sent to Cox and samples of infringing files copied by specific

Cox subscribers. Upon information and belief, Cox has refused to terminate the subscribers' or

account holders' accounts or to otherwise act effectively in response to these notices.

        40.     Cox has not acted reasonably or in good faith in response to Plaintiffs' notices of

infringement and repeat infringement.

       41.     Cox's acts of infringement have been willful, intentional, and purposeful, in

disregard of and indifference to Plaintiffs' rights.

       42.     As a direct and proximate result of Cox's infringements of Plaintiffs' copyrights

and exclusive rights under copyright, Plaintiffs are entitled to damages and Cox's profits

pursuant to 17 U.S.C. § 504(b) for each infringement.




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        43.     Alternatively, Plaintiffs are entitled to the maximum statutory damages, pursuant

to 17 U.S.C. § 504(c), in the amount of $150,000 with respect to each work infringed, or such

other amounts as may be proper under 17 U.S.C. § 504(c).

        44.     Plaintiffs further are entitled to their attorneys' fees and full costs pursuant to 17

U.S.C. § 505.

        45.     Cox's conduct is causing and, unless enjoined and restrained by this Court, will

continue to cause Plaintiffs great and irreparable injury that cannot fully be compensated or

measured in money. Plaintiffs have no adequate remedy at law. Pursuant to 17 U.S.C. § 502,

Plaintiffs are entitled to injunctive relief prohibiting further contributory infnngements of

Plaintiffs' copyrights.

                          Count II - Vicarious Infringement of Copyright

       46.      Plaintiffs incorporate herein by reference each and every averment contained in

paragraphs 1 through 45, inclusive.

       47.      Cox had, and continues to have, the right and ability to supervise and/or control

the infringing conduct of its subscribers and account holders through its agreements with its

subscribers and account holders by, without limitation, blocking access to its subscribers and

account holders or terminating the accounts of subscriberswho engage in infringing activity.

But Cox has failed to exercise such supervision and/or control. As a direct and proximate result

of such failure, Cox's subscribers and account holders have repeatedly infringed and will

continue to repeatedly infringe Plaintiffs' Copyrighted Musical Compositions on a massive scale.

       48.      Cox derived (and continues to derive) substantial and direct financial benefit from

the infringements of the Copyrighted Musical Compositions by its subscribers or account holders




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in the form of continued monthly subscription payments and by having subscribers and account

holders drawn to its service for the purpose of accessing and/or providing infringing content.

        49.     Cox has not acted reasonably or in good faith in response to Plaintiffs' notices of

infringement and repeat infringement.

        50.     Cox's acts of infringement have been willful, intentional, and purposeful, in

disregard of and indifference to Plaintiffs' rights.

        51.     As a direct and proximate result of Cox's vicarious infringements of Plaintiffs'

copyrights and exclusive rights under copyright, Plaintiffs are entitled to damages and Cox's

profits pursuant to 17 U.S.C. § 504(b) for each infringement.

        52.     Alternatively, Plaintiffs are entitled to the maximum statutory damages, pursuant

to 17 U.S.C. § 504(c), in the amount of $150,000 with respect to each work infringed, or such

other amounts as may be proper under 17 U.S.C. § 504(c).

       53.      Plaintiffs further are entitled to their attorneys' fees and full costs pursuant to 17

U.S.C. § 505.

       54.      Cox's conduct is causing and, unless enjoined and restrained by this Court, will

continueto cause Plaintiffs great and irreparableinjury that cannot fully be compensated or

measured in money. Plaintiffs have no adequate remedy at law. Pursuant to 17 U.S.C. § 502,

Plaintiffs are entitled to injunctiverelief prohibiting further contributory infringements of

Plaintiffs' Copyrighted Musical Compositions.

                                              Prayer for Relief


       WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:

       a.       For entry ofjudgment against Defendants for all damages to which Plaintiffs may

be entitled, includingDefendants' profits and for damages in an amount as may be proven at


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trial. Alternatively, at Plaintiffs' election, for the maximum statutory damages amount allowed

by law for all individual copyright infringements involved in this action with respect to any one

work, or for such other amount as may be proper pursuant to 17 U.S.C. § 504(c);

        b.      For a permanent injunction enjoining Defendants and their respective officers,

agents, servants, employees, attorneys, successors, licensees, partners, and assigns, and all

persons acting in concert or participation with each or any of them, from (a) directly or indirectly

infringing in any manner any of Plaintiffs' respective copyrights or other exclusive rights

(whether now in existence or hereafter created), including without limitation, copyrights or

exclusive rights under copyright in the Copyrighted Musical Compositions, and (b) causing,

contributing to, enabling, facilitating, or participating in the infringement of any of Plaintiffs'

respective copyrights or other exclusive rights (whether now in existence or hereafter created),

includingwithout limitation, copyrights or exclusive rights under copyright in the Copyrighted

Musical Compositions;

       c.      For an order directing defendant to promptly forward plaintiffs' infringement

notices to their subscribers;

       d.      For prejudgment and post-judgment interest according to law;

       e.      For Plaintiffs' attorneys' fees, and full costs and disbursements in this action; and

       f.      For such other and further relief as the Court may deem proper and just.

                                      Demand for Jury Trial

       Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand trial by jury of all

issues triable by right ofjury.




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                                               Respectfully submitted,



Dated: November 26, 2014
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